 8:14-cr-00054-JFB-TDT          Doc # 88   Filed: 09/18/14    Page 1 of 1 - Page ID # 254




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:14CR54
                       Plaintiff,             )
                                              )
       vs.                                    )                    ORDER
                                              )
JOSHUA M. WILDENRADT,                         )
JOHNNY GRISALES,                              )
ROBERT D. BRYAN,                              )
RUSSELL HARRIS and                            )
CHRISTIE CANTON,                              )
                                              )
                       Defendants.            )

       This matter is before the court on the motion to continue the trial of this matter by
the government (Filing No. 87). Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     The motion to continue trial (Filing No. 87) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for November 10,
2014, before Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between September 18, 2014, and November 10, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 18th day of September, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
